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Fill in this information to identify your case:


Debtor 1          MONACCO                  MARIE              STINNIE
                  __________________________________________________________________
                    First Name                Middle Name                  Last Name

                                                                                                                                  Check if this is an amended
                                                                                                                                     plan, and list below the
Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name                  Last Name
                                                                                                                                     sections of the plan that have
                                                                                                                                     been changed.
                                                                                                                                 _________________________________
United States Bankruptcy Court for the: Western District of Virginia
                                                                                 (State)                                         _________________________________

Case number         19-60689
(If known)




 Official Form 113
 Chapter 13 Plan                                                                                                                                          12/17


     Part 1:          Notices

 To Debtors:            This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                        do not comply with local rules and judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies.

 To Creditors:          Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                        have an attorney, you may wish to consult one.
                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                        confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                        Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                        Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.
                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                        includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will
                        be ineffective if set out later in the plan.


      1.1       A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial                  Included         Not included
                payment or no payment at all to the secured creditor

      1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in                   Included         Not included
                Section 3.4

      1.3       Nonstandard provisions, set out in Part 8                                                                        Included         Not included

    Part 2:           Plan Payments and Length of Plan

    2.1 Debtor(s) will make regular payments to the trustee as follows:

             $200.00                  per month        for 36          months
             [and $ ___________ per_______             for _____       months.] Insert additional lines if needed.

             If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
             payments to creditors specified in this plan.


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  2.2 Regular payments to the trustee will be made from future income in the following manner:

       Check all that apply.
        Debtor(s) will make payments pursuant to a payroll deduction order.
        Debtor(s) will make payments directly to the trustee.
        Other (specify method of payment):____________________________.
  2.3 Income tax refunds.

       Check one.
        Debtor(s) will retain any income tax refunds received during the plan term.
        Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will
             turn over to the trustee all income tax refunds received during the plan term.
            Debtor(s) will treat income tax refunds as follows:
             ____________________________________________________________________________________________________
             ____________________________________________________________________________________________________
  2.4 Additional payments.

       Check one.
        None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
        Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, estimated amount,
             and date of each anticipated payment.
             ___________________________________________________________________________________________________________
             ___________________________________________________________________________________________________________

  2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $7200.00.


  Part 3::      Treatment of Secured Claims


  3.1 Maintenance of payments and cure of default, if any.

       Check one.
        None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
            The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by
             the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or
             directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
             trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the
             filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment payment and
             arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If relief from the automatic stay
             is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this
             paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The final
             column includes only payments disbursed by the trustee rather than by the debtor(s).



             Name of creditor                    Collateral         Current installment       Amount of         Interest rate on Monthly plan        Estimated total
                                                                    payment                   arrearage (if     arrearage        payment on          payments by
                                                                    (including escrow )       any)              (if applicable)  arrearage           trustee

              _________________                    ____________      $___________              $___________      _______%          $___________      $____________
                                                                     Disbursed by:
                                                                         Trustee
                                                                         Debtor(s)



              _________________                    ____________      $___________              $___________      _______%          $___________      $____________
                                                                     Disbursed by:
                                                                         Trustee
                                                                         Debtor(s)

             Insert additional claims as needed.


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  3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

        None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

        The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim
           listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured
           claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of
           claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of
           the secured claim will be paid in full with interest at the rate stated below.

           The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this
           plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety
           as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total claim listed on the
           proof of claim controls over any contrary amounts listed in this paragraph.

           The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest
           of the debtor(s) or the estate(s) until the earlier of:
           (a)   payment of the underlying debt determined under nonbankruptcy law, or
           (b)   discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

            Name of creditor        Estimated amount Collateral           Value of      Amount of        Amount of           Interest Monthly        Estimated total
                                    of creditor’s total                   collateral    claims senior to secured claim       rate     payment to     of monthly
                                    claim                                               creditor’s claim                              creditor       payments


             _____________           $_______             __________       $______       $_______          $______         ___%       $_______        $_______


             _____________           $_______             __________       $______       $_______          $______         ___%       $_______        $_______


           Insert additional claims as needed.
3.3 Secured claims excluded from 11 U.S.C. § 506.

     Check one.
        None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
        The claims listed below were either:
          (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
              personal use of the debtor(s), or

          (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or
          directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim filed before the
          filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a contrary timely filed proof of
          claim, the amounts stated below are controlling. The final column includes only payments disbursed by the trustee rather than by the debtor(s).



            Name of creditor                             Collateral                     Amount of claim Interest         Monthly plan      Estimated total
                                                                                                        rate             payment           payments by trustee

            ______________________________                ______________________        $___________         _____%       $________        $_________________
                                                                                                                         Disbursed by:
                                                                                                                             Trustee
                                                                                                                             Debtor(s)

            ______________________________                ______________________        $___________         _____%       $________        $_________________
                                                                                                                         Disbursed by:
                                                                                                                             Trustee
                                                                                                                             Debtor(s)
           Insert additional claims as needed.




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 3.4 Lien avoidance.

     Check one.
        None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
         The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

        The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
           debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or security interest
           securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The
           amount of the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The
           amount, if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C.
           § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each lien.


             Information regarding judicial          Calculation of lien avoidance                                        Treatment of remaining
             lien or security interest                                                                                    secured claim

                                                  a. Amount of lien                                   $______________     Amount of secured claim after
             Name of creditor
                                                                                                                          avoidance (line a minus line f)
                                                                                                                          $_______________________
             __________________                   b. Amount of all other liens                        $______________


             Collateral                           c. Value of claimed exemptions                  + $______________       Interest rate (if applicable)


                                                  d. Total of adding lines a, b, and c                $______________       _____ %
             __________________

                                                                                                                          Monthly payment on secured
             Lien identification (such as         e. Value of debtor(s)’ interest in
                                                                                                  − $______________       claim
             judgment date, date of lien             property
                                                                                                                          $_______________________
             recording, book and page number)


             __________________                                                                                           Estimated total payments on
                                                  f. Subtract line e from line d.                     $______________     secured claim
             __________________                                                                                           $_______________________


                                                     Extent of exemption impairment
                                                     (Check applicable box):
                                                        Line f is equal to or greater than line a.

                                                         The entire lien is avoided. (Do not complete the next column.)
                                                        Line f is less than line a.

                                                         A portion of the lien is avoided. (Complete the next column.)

         Insert additional claims as needed.




3.5 Surrender of collateral.

     Check one.
        None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
        The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim.  The debtor(s) request that
           upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301
           be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below.


             Name of creditor                                                                      Collateral

            Ruckersville Auto Mart                                                                    2002 Alero & 2004 Chevy

            Aaron’s                                                                                   dresser


          Insert additional claims as needed.


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  Part 4:     Treatment of Fees and Priority Claims

 4.1 General

      Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
      postpetition interest.

 4.2 Trustee’s fees

       Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10% of plan payments; and during the
       plan term, they are estimated to total $720.00.


  4.3 Attorney’s fees

       The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4000.00.


  4.4 Priority claims other than attorney’s fees and those treated in § 4.5.

       Check one.
          None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
          The debtor(s) estimate the total amount of other priority claims to be $2275.00.

  4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

       Check one.
          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
          The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
             governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision
             requires that payments in § 2.1 be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).




              Name of creditor                                                                                             Amount of claim to be paid


               _______________________________________________________________________________                              $__________________________


               _______________________________________________________________________________                              $__________________________

             Insert additional claims as needed.

  Part 5:     Treatment of Nonpriority Unsecured Claims


  5.1 Nonpriority unsecured claims not separately classified.

       Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
       providing the largest payment will be effective. Check all that apply.

             The sum of $___________.

              1% of the total amount of these claims, an estimated payment of $205.00.

             The funds remaining after disbursements have been made to all other creditors provided for in this plan.
             If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $0. Regardless of the
             options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.




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  5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
          The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below
              on which the last payment is due after the final plan payment. These payments will be disbursed either by the trustee or directly by the
              debtor(s), as specified below. The claim for the arrearage amount will be paid in full as specified below and disbursed by the trustee.
              The final column includes only payments disbursed by the trustee rather than by the debtor(s).


                Name of creditor                                                    Current installment        Amount of arrearage          Estimated total
                                                                                    payment                    to be paid                   payments by
                                                                                                                                            trustee

                __________________________________________________                   $___________              $______________              $____________

                                                                                     Disbursed by:
                                                                                      Trustee
                                                                                        Debtor(s)

                __________________________________________________                   $___________              $______________              $____________

                                                                                     Disbursed by:
                                                                                      Trustee
                                                                                        Debtor(s)
             Insert additional claims as needed.



  5.3 Other separately classified nonpriority unsecured claims. Check one.

        None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.
        The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows


                Name of creditor                             Basis for separate classification       Amount to be paid    Interest rate         Estimated total
                                                             and treatment                           on the claim         (if applicable)       amount of
                                                                                                                                                payments

                 _______________________________              ____________________________            $_____________       ______%              $__________


                 _______________________________              ____________________________            $_____________       ______%              $__________


               Insert additional claims as needed.



  Part 6:       Executory Contracts and Unexpired Leases


  6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
       and unexpired leases are rejected. Check one.

        None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
        Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified below, subject
            to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column includes only payments disbursed
            by the trustee rather than by the debtor(s).




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             Name of creditor                  Description of leased      Current installment      Amount of        Treatment of arrearage      Estimated total
                                               property or executory      payment                  arrearage to                                 payments by
                                               contract                                            be paid          (Refer to other plan        trustee
                                                                                                                    section if applicable)

              Mary Morris                       Residential lease         $695.00                  $__________       __________________          $__________
                                                                          Disbursed by:
                                                                                                                     __________________
                                                                            Trustee
                                                                            Debtor(s)

              ____________________              __________________        $___________             $__________       __________________          $__________
                                                                          Disbursed by:
                                                                                                                     __________________
                                                                            Trustee
                                                                            Debtor(s)

            Insert additional contracts or leases as needed.




  Part 7:       Vesting of Property of the Estate


  7.1 Property of the estate will vest in the debtor(s) upon
       Check the applicable box:

            plan confirmation.
            entry of discharge.
            other: ____________________________________________.



  Part 8:       Nonstandard Plan Provisions


  8.1 Check “None” or List Nonstandard Plan Provisions

        None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
  Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
  Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

  The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.
                 A.         Attorney’s Fees. 1. Attorneys Fees noted in Paragraph 4 shall be approved on the confirmation date unless previously objected to.
                            Said allowed fees shall be paid by the Trustee prior to the commencement of payments required to be made by the Trustee under
                            Paragraphs 3.1, 4, and 5 herein, except that attorneys fees shall be paid pro rata with any distribution to domestic support order
                            claimants under paragraph 4.

                                      2.         The $4000.00 in Debtor(s)’ attorney’s fees to be paid by the Chapter 13 Trustee are broken down as follows:
                                      (i)        $4000.00: Fees to be approved, or already approved, by the Court at initial plan confirmation;
                                      (ii)       $ _________: Additional pre-confirmation or post-confirmation fees already approved by the Court by separate
                                                 order or in a previously confirmed modified plan [ECF #      :$    ; ECF #     :$       ];
                                      (iii)      $ _________: Additional post-confirmation fees being sought in this modified plan, which fees will be approved
                                                 when this plan is confirmed.

                 B.         Secured Deficiencies. Any unsecured proof of claim for a deficiency which results from the surrender and liquidation of the
                            collateral noted in paragraph 3.5 of this plan must be filed by the earlier of the following dates or such claim will be forever barred: (1)
                            within 180 days of the date of the first confirmation order confirming a plan which provides for the surrender of said collateral, or (2)
                            within the time period set for the filing of an unsecured deficiency claim as established by any order granting relief from the automatic
                            say with respect to said collateral. Said unsecured proof of claim for a deficiency must include appropriate documentation
                            establishing that the collateral surrendered has been liquidated, and the proceeds applied, in accordance with applicable state law.

                 C.         Treatment of Claims.

                        •    All creditors must timely file a proof of claim to receive payment from the Trustee.


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                      •     If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely object to
                            confirmation of the plan, the creditor may be treated as unsecured for purposes of distribution under the plan. This paragraph does
                            not limit the right of the creditor to enforce its lien, to the extent not avoided or provided for in this case, after the debtor(s) receive a
                            discharge.
                      •     If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the creditor will be
                            treated as unsecured for purposes of distribution under the plan. The Trustee may adjust the monthly disbursement as needed to
                            pay an allowed secured claim in full.

                D.        Adequate Protection Payments. The Trustee shall make adequate protection payments required by 11 U.S.C. § 1326(a) or
                          otherwise upon claims secured by personal property, until the commencement of payments provided for in sections 3.2 and/or 3.3 of
                          the Plan, in amounts of at least 1% of the fair market value of the secured personal property.




  Part 9:      Signature(s):


  9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney
  If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if any,
  must sign below.



       Monacco Marie Stinnie                                             _________________________________________
        Signature of Debtor 1                                              Signature of Debtor 2

        Executed on 3/27/19                                                Executed on __________________
                     MM / DD / YYYY                                                      MM / DD / YYYY




       /s/ Robert Stevens                                         Date     3/27/19
        Signature of Attorney for Debtor(s)                                  MM / DD / YYYY



  By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s)
  also certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
  those contained in Official Form 113, other than any nonstandard provisions included in Part 8.




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Exhibit: Total Amount of Estimated Trustee Payments
     The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
     out below and the actual plan terms, the plan terms control.

a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                         $______________

b.   Modified secured claims (Part 3, Section 3.2 total)                                                 $______________

c.   Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                            $______________

d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                  $______________

e.   Fees and priority claims (Part 4 total)                                                             $6995.00

f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                           $205.00

g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                       $______________

h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                  $______________

i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)            $______________

j.   Nonstandard payments (Part 8, total)                                                           +    $______________


                                                                                                         $7200.00
     Total of lines a through j




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                                  UNITED STATES BANKRUPTCY COURT
                                FOR THE WESTERN DISTRICT OF VIRGINIA
                                        LYNCHBURG DIVISION

In re: Monacco Marie Stinnie
                                                               Chapter 13

          Debtor(s).                                           Case No. 19-60689


                    CERTIFICATION OF MAILING AND/OR SERVICE OF CHAPTER 13 PLAN


          I certify that a true and correct copy of the chapter 13 plan or the amended chapter 13 plan and amended
plan cover sheet, filed electronically with the Court on March 28, 2019, has been mailed by first class mail
postage prepaid to all creditors, equity security holders, and other parties in interest, including the United States
Trustee, on March 28, 2019.


          If the plan contains (i) a request under section 522(f) to avoid a lien or other transfer of property exempt
under the Code or (ii) a request to determine the amount of a secured claim, the plan must be served on the affected
creditors in the manner provided by Rule 7004 for service of a summons and complaint. I certify that a true and
correct copy of the chapter 13 plan has been served on the following parties pursuant to Rule 7004:



                    Name                        Address                    Method of Service




                                                               /s/ Robert Stevens
                                                               Counsel for Debtor(s)




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